Case 2:19-cv-02373-JTF-tmp Document 24 Filed 06/21/19 Page 1 of 1                      PageID 104



                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


JOHN COE,                                             )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )         Case No. 2:19-cv-02373-JTF-tmp
                                                      )
RHODES COLLEGE                                        )
                                                      )
       Defendant.                                     )


                                     MEDIATION ORDER


       Pursuant to the mediation requirement set forth by the Court under Local Rule 16.2, the

parties are ordered to complete mediation by December 9, 2019. The parties are to have present

at the mediation, representatives with full settlement authority. The parties must file a report with

the Court stating (1) the name of their mediator, (2) the date on which the mediation took place,

and (3) the results of the mediation. The parties’ mediation report is due on or before December

9, 2019.

       A Motion Hearing is set for Wednesday, July 17th, 2019 at 10:00 a.m.

           IT IS SO ORDERED on this 21st day of June 2019.


                                                      s/John T. Fowlkes, Jr.
                                                      JOHN T. FOWLKES, JR.
                                                      UNITED STATES DISTRICT JUDGE
